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    UNITED STATES BANKRUPTCY COURT
    SOUTHERN DISTRICT OF NEW YORK

      In re:
                                                                  Chapter 11
      286 RIDER AVE ACQUISITION LLC,
                                                                  Case No. 21-11298-LGB
                                   Debtor.
                                                                RELATED DOC. NO. 13


                                   AFFIDAVIT OF SERVICE

         I, Reyko E. Delpino, being duly sworn, depose and say:

         1.     I am not a party to the action and am over18 years of age.

        2.     A true copy of the OBJECTION OF 286 RIDER AVE DEVELOPMENT LLC TO
ORDER GRANTING 286 RIDER AVE ACQUISITION LLC’S EX-PARTE MOTION FOR
ENTRY OF AN ORDER PURSUANT TO BANKRUPTCY RULE 2004 AUTHORIZING
DISCOVERY EXAMINATIONS OF (I) TOBY MOSKOVITS AND (II) MICHAEL
LICHTENSTEIN [ECF NO. 13] was served on August 3, 2021 via Electronic Service and
Electronic Mail upon: (i) Fred B. Ringel on behalf of Debtor 286 Rider Ave Acquisition LLC
[fbr@robinsonbrog.com]; (ii) Joseph Thomas Moldovan on behalf of Interested Party Be-Aviv
286 Rider LLC [bankruptcy@morrisoncohen.com]; and (iii) United States Trustee
[USTPRegion02.NYECF@USDOJ.GOV] and (iv) via Electronic Mail upon Greg Zipes on
behalf of the United States Trustee [greg.zipes@usdoj.gov].

                                                     /s/Reyko E. Delpino
                                                     Reyko E. Delpino

Sworn to before me this
3rd day of August 2021.

/s/Pamela R. Martinez
Pamela R. Martinez
Notary Public-State of New York
No. 01MA6314397
Qualified in Queens County
My Commission Expires 11-03-2022




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